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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )      CR-08-157-B-W-02
                                            )
LEVAR CAREY                                 )


                              ORDER ON CASTRO HEARING

       On February 26, 2009, the Court held a hearing in accordance with United States v.

Castro, 129 F.3d 226 (1st Cir. 1997), to determine whether two individuals the Defendant

intended to call as witnesses at trial were going to assert their Fifth Amendment right not to

testify and, if so, whether they should be allowed to do so. The two individuals were co-

defendants in the original Indictment in this case: Christopher Riley and James Damon.

       In Castro, after describing the Fifth Amendment privilege against self-incrimination as “a

cornerstone of our adversarial system of criminal justice,” the First Circuit observed that the

Fifth Amendment’s “prophylaxis is not available to all comers in all circumstances” and the

prospective witness must show “at the very least that he is faced with some authentic danger of

incrimination.” Id. at 229. The Castro Court cautioned that the Fifth Amendment privilege

“cannot be invoked on a blanket basis,” and charged the district court with making a

“particularized inquiry” into whether the privilege may be asserted on a “question by question”

basis. Id.

       The Court had earlier denied the witnesses’ motions to quash Mr. Carey’s motions for

writs of habeas corpus, and the two witnesses appeared in court with counsel for the Castro

hearing. Order (Docket #’s 153, 154). The Court allowed defense counsel for Mr. Carey and

the prosecutor to describe to each witness the likely areas of inquiry for direct and cross-
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examination. Following this description, each witness asserted his right to remain silent under

the Fifth Amendment and confirmed that if called as a witness at Mr. Carey’s trial, he would not

testify voluntarily.

        For the reasons stated on the record, the Court concluded that Mr. Riley and Mr. Damon

had sustained their obligation to demonstrate that they were each “faced with some authentic

danger of incrimination” if they testified and had limned “some reasonable possibility that, by

testifying, he may open himself to prosecution.” Castro, 129 F.3d at 229. Further, in accordance

with Castro, the Court stated that it would not permit the Defendant to call these witnesses at

trial to require them to take the witness stand and assert the privilege in front of the jury. Id. at

231.

        SO ORDERED.


                                      /s/ John A. Woodcock, Jr.
                                      JOHN A. WOODCOCK, JR.
                                      CHIEF UNITED STATES DISTRICT JUDGE


Dated this 26th day of February, 2009




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